Oo fo NN HD A S&S WH KN =

NHN pO PO KO BK NO BRD ow mm mem mem met
Dn tra Bh W NY SK SG OO BS IN NH A Sf WH NY | BS

27
28

GUNDERSON LAW FIRM

A PROFESSIONAL
LAW CORPORATION
3895 Warren Way

RENO, NEVADA &ss09

(775) 829-1222

 

 

Case 3:22-cv-00236-ART-CLB Document 18 Filed 08/04/22 Page 1 of 4

GUNDERSON LAW FIRM

Mark H. Gunderson, Esq.
Nevada State Bar No. 2134
mgunderson@gundersonlaw.com
Austin K. Sweet, Esq.

Nevada State Bar No. 11725
asweet@gundersonlaw.com

3895 Warren Way

Reno, Nevada 89509

Telephone: 775.829.1222
Facsimile: 775.829.1226
Attorneys for Minerva Office Management, Inc. and
Robert L. Leberman

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

KPG INVESTMENTS INC., a Nevada Case No.:
corporation; KENDALLE GETTY, an individual, 3:22-cv-00236-ART-CLB

Plaintiffs,
Vv.

MARLENA SONN, an individual; AND DOES
1-20,

Defendant.

MARLENA SONN, Consolidated with:
3:22-cv-00323-ART-CLB
Plaintiff,
v.

KENDALLE P. GETTY, as Trustee of the CERTIFICATE OF INTERESTED
Pleiades Trust and as an individual, KPG PARTIES

INVESTMENTS, INC., as Trustee of the

Pleiades Trust, ALEXANDRA SARAH

GETTY, as Trustee of the Pleiades Trust and as

an individual, ASG INVESTMENTS, INC., as

Trustee of the Pleiades Trust, MINERVA

OFFICE MANAGEMENT, INC., — and

ROBERT L. LEBERMAN,

Defendants.

 

-1-

 
oO © SN HD wn BP W Ne

NM Bw bO BO RD RD ORDO Om ee
nN A & W NO FY Oo Oo BH INH DH A Ff WY NH | OS

27
28

GUNDERSON LAW FIRM
A PROFESSIONAL
LAW CORPORATION
3895 Warren Way
RENO, NEVADA 89509
(775) 829-1222

 

Case 3:22-cv-00236-ART-CLB Document 18 Filed 08/04/22 Page 2 of 4

Defendants MINERVA OFFICE MANAGEMENT, INC. and ROBERT L. LEBERMAN
(“Defendants”), by and through their counsel of record, Mark H. Gunderson, Esq. and Austin K.
Sweet, Esq., submits the following disclosure statement pursuant to FRCP 7.1 and LR 7.1-1:

Defendants do not have a parent corporation and no publicly held corporation owns 10% or
more of its stock.

The undersigned, counsel of record for Defendants certify that there are no other parties, other
than those named, that have an interest in the outcome of this case.

These representations are made to enable judges of the Court to evaluate possible
disqualifications or recusal.

DATED this 4 day of August, 2022.

GUNDERSON LAW FIRM

sirau nl ff —

Mark H. Gunderson, Esq. _

Nevada State Bar No. 2134

Austin K. Sweet, Esq.

Nevada State Bar No. 11725

Attorneys for Minerva Office Management,
Inc. and Robert L. Leberman

 

 
21
28

GUNDERSON LAW FIRM
A PROFESSIONAL
LAW CORPORATION
3895 Warren Way
RENO, NEVADA 89509
(775) 829-1222

 

Case 3:22-cv-00236-ART-CLB Document 18 Filed 08/04/22 Page 3 of 4

CERTIFICATE OF SERVICE
Pursuant to FRCP 5(b), I certify that I am an employee of the law office of GUNDERSON
LAW FIRM, and on the AL day of August, 2022 I electronically filed the CERTIFICATE OF
INTERESTED PARTIES and a copy will be electronically mailed by the United States District

Court-District of Nevada through CM/ECF to the following:

Leigh T. Goddard, Esq.
MCDONALD CARANO LLP

100 W. Liberty St., Tenth Floor
P.O. Box 2670

Reno, NV 89501
lgoddard@mcedonaldcarano.com
weornelius@mcedonaldcarano.com
Attorneys for KPG Investments, Inc.
and Kendalle Getty

Daniel I. Aquino, Esq.

Tara U. Teegarden, Esq.
MCDONALD CARANO LLP
2300 W. Sahara Avenue. Suite 1200
Las Vegas, NV 89102
daquino@mcdonaldcarano.com
ksurowiec@mcdonaldcarano.com
mearter@mcedonaldcearano.com
tteegarden@mcdonaldcarano.com
cgerard@mcedonaldcarano.com
Attorneys for KPG Investments, Inc.
and Kendalle Getty

Alice C. Mercado, Esq.

LEMONS, GRUNDY & EISENBERG
6005 Plumas Street, Suite 300

Reno, Nevada 89509

acm@lge.net

margien@lge.net

Attorney for Alexandra Sarah Getty
and ASG Investments, Inc.

Agatha M. Cole, Esq.
POLLOCK COHEN LLP
60 Broad Street, 24" Floor
New York, NY 10004
agatha@pollockcohen.com
Attorney for Marlena Sonn

 

 
bo

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

GUNDERSON LAW FIRM
A PROFESSIONAL
LAW CORPORATION
3895 Warren Way
RENO, NEVADA 89509
(775) 829-1222

 

 

Roger W. Wenthe, Esq.
ROGER WENTHE, PLLC
2831 St. Rose Pkwy., Suite 200
Henderson, NV 89052
roger.wenthe@gmail.com
Attorney for Marlena Sonn

David Slarskey, Esq.
SLARSKEY LLC

800 Third Ave., 18th Floor
New York, NY 10022
dslarskey@slarskey.com

Case 3:22-cv-00236-ART-CLB Document 18

Filed 08/04/22 Page 4 of 4

Attorney for Minerva Office Management, Inc.

and Robert L. Leberman

Pursuant to FRCP 5(b), I further certify that I am an employee of the law office of

GUNDERSON LAW FIRM, and on the

to the following:

Lisa E. Cleary, Esq.

day of August, 2022, I deposited for mailing in Reno,

Nevada a true and correct copy of the foregoing CERTIFICATE OF INTERESTED PARTIES,

PATTERSON, BELKNAP, WEBB & TYLER LLP

1133 Avenue of Americas

New York, NY 10036

Attorneys for KPG Investments, Inc.
and Kendalle Getty

Matthew S. Aibel. Esq.

PAUL HASTINGS LLP

200 Park Avenue

New York, NY 10166

Attorney for Alexandra Sarah Getty
and ASG Investments, Inc

Max E. Rodriguez, Esq.
POLLOCK COHEN LLP
60 Broad Street, 24"" Floor
New York, NY 10004
Attorney for Marlena Sonn

fr

Kelly Gunderson _

 

 
